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  A0 245B     (Rev. 06/05) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                         MIDDLE                                   District of                                 ALABAMA

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                      V.
            PATRICK WAYNE DISMUKES
                                                                           Case Number:                     2:07cr282-0l 5-WKW

                                                                                                            (WO)

                                                                           USM Number:                       12366-002

                                                                           Everett Urech
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        is of the Second Superseding Indictment on August 20, 2008
LI pleaded nob contendere to count(s)
   which was accepted by the court.
[1 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                Count
2 1:846                          Conspiracy to Possess with Intent to Distribute and                        12/5/2007                      is
                                 Distribution of Methamphetamine




       The defendant is sentenced as provided in pages 2 through                  6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LIThe defendant has been found not guilty on count(s)            ____________________________________________
X Count(s) 1 of the Indictment                           X is      LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           November 5, 2008
                                                                           Date of Impo tionofJudgmen



                                                                           Signature of Judge




                                                                           W. KEITH WATKINS, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                                  /(, ( .os
                                                                           Date
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A0 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Impnsonment

                                                                                                       Judgment - Page    2     of   6
DEFENDANT:                       PATRICK WAYNE DISMUKES
CASE NUMBER:                     2:07cr282-015-WKW


                                                             IMPRISONMENT

        The defendant is hereby conmiitted to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

45 Months



     X The court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that defendant be designated to a facility where intensive residential drug treatment is
          available.


     X The defendant is remanded to the custody of the United States Marshal.

     El The defendant shall surrender to the United States Marshal for this district:
          i
          L     at ____________________ LI a.m. Li p.m. on -

          Li as notified by the United States Marshal.

     Li The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          Li before 2 p.m. on

       Li as notified by the United States Marshal.
       LI as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                             to

at                                                     with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 - Supervised Release

                                                                                                            Judgment—Page      3     of        6
DEFENI)ANT:                   PATRICK WAYNE DISMUKES
CASE NUMBER:                  2:07cr282-015-WKW
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

5 Years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse, (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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          (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C    Supervised Release
                                                                                          Judgment—Page    4    of      6
DEFENDANT:               PATRICK WAYNE DISMUKES
CASE NUMBER:             2:07cr282-015-WKW

                                        SPECIAL CONDITIONS OF SUPERVISION
In the event defendant does not obtain intensive drug treatment in the Bureau of Prisons, he shall participate in a program
approved by the United States Probation Office for substance abuse, which may include testing to determine whether he has
reverted to the use of drugs. Defendant shall contribute to the costs of any treatment based on ability to pay and the
availability of third-party payments.

Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
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           Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment— Page          5   of        6
DEFENDANT:                       PATRICK WAYNE DISMUKES
CASE NUMBER:                     2:07cr282-015-WKW
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                                    Restitution
TOTALS             $ 100                                           $                                       $


LI The determination of restitution is deferred until _______ An Amended Judgment in a Criminal Case (AU 245C) will be entered
     after such determination.

LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order orpercentae payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss*                       Restitution Ordered                       Priority or Percentage




TOTALS                            $                            0          $                            0


LI Restitution amount ordered pursuant to plea agreement $

LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

LI The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      LI the interest requirement is waived for the       LI fine LI restitution.
      LI the interest requirement for the      LI fine      LI restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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            (Rev. 06/05) Judgment in a Criminal Case
            Sheet 6— Schedule of Payments

                                                                                                           Judgment - Page      6     of     6
 DEFENDANT:                  PATRICK WAYNE DISMUKES
 CASE NUMBER:                2:07cr282-015-WKW


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A x Lump sum payment of S 100                                 due immediately, balance due

            El    not later than ___________________________ , or
                  in accordance        El C, El D, El E, or X F below; or
B El Payment to begin immediately (may be combined with El C,                          El D, or El F below); or
C El Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
       ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D El Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of S _____________ over a period of
       ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or

E El Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
         imprisomnent. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of
           Alabama, P.O. Box 711, Montgomery, AL 36101.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




El The defendant shall pay the cost of prosecution.

El The defendant shall pay the following court cost(s):

El The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
